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                           1 BUCHALTER
                             A Professional Corporation
                           2 OREN BITAN (SBN: 251056)
                           3 WILLMORE F. HOLBROW III (SBN: 169688)
                             AARON LEVINE (SBN: 299260)
                           4 1000 Wilshire Boulevard, Suite 1500
                             Los Angeles, CA 90017-2457
                           5 Telephone: 213.891.0700
                           6 Fax: 213.896.0400
                             Email: wholbrow@buchalter.com
                           7
                             Attorneys for Plaintiff
                           8
                                                   UNITED STATES DISTRICT COURT
                           9                     CENTRAL DISTRICT OF CALIFORNIA
                          10                                WESTERN DIVISION

                          11 Vivera Pharmaceuticals, Inc.,            Case No. 2:20-CV-02160-GW (MAAx)
                             a Delaware corporation
                          12                                          Hon. George H. Wu
                                          Plaintiff,
                          13
                                   vs.                                ERRATUM RE: FIRST AMENDED
                          14                                          COMPLAINT FOR TRADEMARK
                          15 Blaine Laboratories,  Inc., a California INFRINGEMENT, FALSE
                             corporation; Robert C. Blaine, an        DESIGNATION OF ORIGIN AND
                          16 individual                               UNFAIR COMPETITION [DKT. 23]
                          17                Defendants.
                          18
                          19            The Complaint filed on March 5, 2020, included a clerical error, namely the
                          20 caption identified Plaintiff as a Nevada Corporation, and the allegations in the
                          21 Complaint, namely paragraph 3, correctly identified Plaintiff as a Delaware
                          22 Corporation. On June 24, 2020, Plaintiff filed the First Amended Complaint
                          23 (“FAC”) (Dkt. 23). Among other changes, Plaintiff intended to correct the clerical
                          24 error by ensuring that the state of incorporation was consistently identified as
                          25 Delaware, in both locations. Unfortunately, the error was compounded by
                          26 inaccurately identifying Nevada as the state of incorporation in both locations.
                          27
                          28
      BUCHALTER
                                ERRATUM RE: AMENDED COMPLAINT FOR TRADEMARK                           Case No. 2:20-cv-02160
A PROFES SION AL CORPORAT ION   INFRINGEMENT, FALSE DESIGNATION OF ORIGIN AND
        LOS ANG ELES
                                UNFAIR COMPETITION [DKT. 23]
                                BN 40968650v1
                  Case 2:20-cv-02160-GW-MAA Document 24 Filed 07/07/20 Page 2 of 2 Page ID #:127



                                1           Today, July 7, 2020, Defendant’s counsel was kind enough to highlight the
                                2 inadvertent change from Delaware to Nevada. As a result, Plaintiff is hereby
                                3 withdrawing Dkt. Entry 23 and re-filing the FAC with the correct state of
                                4 incorporation.
                                5                                   BUCHALTER
                                                                    A Professional Corporation
                                6
                                7
                                8 Dated: July 7, 2020          /s/ Willmore F. Holbrow, III
                                                                      OREN BITAN
                                9                                     WILLMORE F. HOLBROW III
                                                                      AARON LEVINE
                          10                                          Attorneys for Plaintiff
                                                                      VIVERA PHARMACEUTICALS, INC.
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                          28        ERRATUM RE: AMENDED
      BUCHALTER                     COMPLAINT FOR TRADEMARK INFRINGEMENT, FALSE
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                    DESIGNATION OF ORIGIN AND UNFAIR COMPETITION
                                    [DKT. 23]
                                    BN 40968650v1
